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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,                Case No. 4:20-cv-00957-SDJ

 v.                                                Hon. Sean D. Jordan

 Google LLC,
                                                   Special Master: David T. Moran
                        Defendants.


                   JOINT STATUS REPORT TO THE SPECIAL MASTER
                        FOR THE FEBRUARY 22, 2024 HEARING

       Pursuant to the Special Master’s Order (ECF No. 227), Plaintiff States (“States”) and

Defendant Google LLC (“Google”) submit this Joint Status Report in advance of the February

22, 2024 hearing before the Special Master.

       The Parties provide the below updates regarding each issue briefed to the Special Master

and look forward to discussing them further with the Special Master at the upcoming hearing.




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       States’ Disputes

       The Parties have met and conferred in good faith in advance of the hearing to address any

potential narrowing of disputes submitted to the Special Master. Specifically, since the filing of

their opening briefs, the Parties met on February 16, February 19, and February 20, with the

majority of States in attendance during the February 16 (attended by 16 States) and February 19

(attended by 14 States) conferences and with those States not able to attend responding via email

and/or offering to meet separately if needed. The Parties may also continue to confer up until the

hearing.

       The Parties have discussed narrowing with respect to the following issues:

           1. Search trial transcripts: The States’ request that Google be ordered to produce
              relevant, unredacted trial transcripts and exhibits from the DOJ Search trial, by
              March 1, 2024. The Parties have discussed narrowing this request—including the
              requested review and production under Local Rule CV-26—to only those
              transcripts and exhibits that are sealed and not publicly accessible. The States
              understand that Google is considering this proposed narrowing.

           2. Texas’s DTPA RFPs: Texas’s request that Google be ordered to propose a
              Discovery Plan, by February 29, 2024, with proposed new custodians and search
              terms in response to Texas’s requests for production related to its state-law DTPA
              claims. Texas is willing to propose new custodians and limited new search terms
              by February 29, but continues to request that Google also simultaneously propose
              a custodian and search term plan.

       The Parties remain at an impasse on the following issues (see States’ Proposed Order):

           1. Google’s privilege log re-review: The States’ request that Google be ordered to
              provide (a) a concrete timeline and re-review universe for its privilege log re-
              review and (b) rolling productions of revised logs and de-designated documents,
              with a concrete completion date;

           2. Linked documents and metadata: The States’ request that Google be ordered to
              search for, and produce if found, the individual linked documents and/or required
              metadata associated with the 5,575 documents identified by the States in the
              States’ February 9, 2024 letter and appendix, by March 1, 2024.

           3. Technical documents and data: The States’s request that Google be ordered to
              search for and produce (or make available for inspection) the following relevant
              technical documents and data by March 1, 2024:

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               a. Dashboards, including the dashboards identified by the States in their January
                  16, 2024 letter and appendix (“January 16 Letter”);

               b. Links and document repositories: all documents found at the links and/or
                  repositories identified by the States in their January 16 Letter;

               c. Word documents in native form;

               d. Technical documents, including Application Programming Interfaces (APIs),
                  programming guides and design specifications, and onboarding/training
                  materials for Display Ads products and systems; and

               e. Source code and software identified by the States in their January 16 Letter.

       Google’s Disputes

       Google agrees that Plaintiffs (including representatives from 16 Plaintiffs) nominally

conferred with Google on February 16. But, approximately one-hour before that call, Google

received a 30-page omnibus letter response from Texas, on behalf of Plaintiffs, addressing each

Plaintiff’s position on the interrogatories and RFPs that Google had identified as deficient in letters

dated January 25, 2024.

       Google noted that it was not prepared to speak about the 30-page letter and moreover, that

this kind of eleventh-hour disclosure impairs the good faith meet-and-confer process required by

the Local Rules. Per the Rule, each side should have “the opportunity to express his or her views

concerning the disputes” and make “a sincere effort” to “present the merits of [ ] respective

positions and meaningfully assess the relative strengths of each position.”

       Following the February 16 conference, the parties—this time without individual Plaintiffs

participating—reconvened on February 19 about what issues remained at an issue, primarily on

Plaintiffs’ identified issues because representatives from individual Plaintiffs were not available.

Then, Google and Plaintiffs (including representatives from 14 Plaintiffs) re-convened a third time

on February 20 to address the issues that were intended to be discussed on February 16.

       Google again raises concerns about Plaintiffs’ compliance with Local Rule 7(h).

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       The Parties have discussed narrowing with respect to the following issues:

           1. States’ Responses to Interrogatories 2, 4, 5 and 26 and other Interrogatories.
              Google received Plaintiffs’ Fourth Amended Interrogatory Responses on February
              14. It has reviewed and is discussing these amended responses with Plaintiffs.
              Google has and will address deficiencies in the responses with Plaintiffs before
              raising with the Special Master.

       The Parties remain at an impasse on the following issues:


           1. The States’ Privilege Logs. Plaintiffs (other than South Carolina) should be
              ordered to provide or complete their privilege logs.1

           2. The States’ Document Productions. Plaintiffs should be compelled to identify
              custodians and search terms and complete their productions to Google.




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 As discussed in Plaintiffs’ brief (see Dkt. 245 at 7), South Carolina has provided a privilege log and
undertaken a documented collection process, which is the kind of effort that Google seeks from other
Plaintiffs.

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Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that, on February 21, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                   /s/ Geraldine Young
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